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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) JOSETTE EVANS, )
)
Plaintiff, )
)

vs. ) Case No. 13-CV-464-JED-TLW
)
(1) STATE FARM MUTUAL )
AUTOMOBILE INSURANCE )
COMPANY, )
)
Defendant. )

NOTICE OF REMOVAL

 

The Petitioner, State Farm Mutual Automobile Insurance Company (“State Farm”),
Defendant in the above-captioned case, states the following:

l. The above-entitled cause Was commenced in the District Court of Tulsa County,
entitled Josette Evans v. State Farm Mutual Automobile Insurance Companv, Case No. CJ-2012-
6441. State Farm Was served Summons and Petition on July 8, 2013. A copy of Plaintiffs Petition
setting forth her claims for relief upon Which the action is based is attached hereto and marked
Exhibit l. A copy of the Summons served upon State F arm is attached hereto and marked Exhibit
2.

2. State Farm's principal place of business is in the State of Illinois, and it is
incorporated in the State of lllinois. Plaintiff is a citizen and resident of the State of Oklahoma. (See
PlaintifPs Petition, p. l, 11 l, Exhibit l). Plaintiff`s cause of action is for alleged breach of breach
of an insurance contract and alleged breach of the duty of good faith and fair dealing. The matter
in controversy between Plaintiff and Defendant, according to Plaintiff s demand, exceeds Seventy-
Five Thousand and No/ l OOths Dollars ($75,000.00), exclusive of interests and costs. (See Plaintiff’ s
Petition, p. 2, Exhibit l).

3. This Court has original jurisdiction over this case pursuant to 28 U.S.C. § 1332
(1992), by reason of the fact that this is a civil action Wherein the amount in controversy, according

to Plaintiff’s demands, exceeds Seventy-Five Thousand and No/lOOths Dollars ($75,000.00),

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exclusive of interest and costs and is between citizens of different states. Accordingly, this action
may be removed by State Farm pursuant to 28 U.S.C. § 1441(a).

4. This Notice of Removal is filed in this Court within thirty (3 O) days after July 8, 2013,
the date State Farm was served with a copy of Plaintist Petition, which was the initial pleading
setting forth the claim for relief upon which this action is based. (See Summons and Petition,
Exhibits 1 and 2).

5. Copies of all process and pleadings have been attached hereto as Exhibits 1-3.
Pursuant to LCvR 81 .2 a copy of the state court docket sheet is attached as Exhibit 4.

WHEREFORE, Defendant, State Farm, prays that this action be removed.

Dated this 26th day of July, 2013.

Respectfully submitted,

ATKINSON, HASKINS, NELLIS,
BRITTINGHAM, GLADD & FIASCO

A PROFESSIONAL CORPORAT|ON

/s/ John S. Gladd
John S. Gladd, OBA #12307
Andrew C. Jayne, OBA #19493
525 South Main, Suite 1500
Tulsa, OK 74103-4524
Telephone: (918) 582-8877
Facsimile: (918) 585-8096
Attorneys for Defendants

Certificate of Service

I hereby certify that on July 26, 2013, l electronically transmitted the attached document to
the Clerk of the Court using the ECF System for filing and transmittal of a Notice of Electronic
Filing to the following ECF registrants:

Mr. Robert L. Briggs
Attorney at Law

P.O. Box 701915

Tulsa, Oklahoma 74170-1915

/s/ John S. Gladd
John S. Gladd

